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                     IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 IN RE: Joseph Berti                      CHAPTER 13

              DEBTOR                                BANKRUPTCY CASE NUMBER
 Nationstar Mortgage LLC                            16-11046/MDC
              MOVANT
 VS.                                                11 U.S.C. SEC. 362

 Joseph Berti
        RESPONDENT/DEBTOR

 William C. Miller, TRUSTEE
       ADDITIONAL RESPONDENT(S)

                            NATIONSTAR MORTGAGE LLC'S
                          NOTICE OF DEFAULT OF STIPULATION

RE: PROPERTY KNOWN AS 3249 Princeton Avenue, Philadelphia, PA 19149

TO:
Joseph Berti
3249 Princeton Avenue
Philadelphia, PA 19149

Brad J. Sadek, Esquire
1315 Walnut Street
Suite 502
Philadelphia, PA 19107
Sent via electronic notification: brad@sadeklaw.com

       You are hereby notified that the Debtor is in default of the terms of the Stipulation
entered into by the parties and approved by the Court. The Debtor has failed to make the
following payments and late charges:

Regular payments of $942.75 from February 1, 2020 through April 1, 2020 which total
$2,828.25;
Attorney fee of $100.00 for this Notice of Default
Less Debtor’s Suspense $(117.73)

TOTAL DEFAULT AS OF APRIL 3, 2020 IS $2,810.52

If the default continues to the following month, the Debtor shall include funds to cure that
month’s default as well. Pursuant to the terms of the Stipulation, the full cure of the default must
be via certified funds, money orders or cashier’s check, with the loan number clearly written
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thereon and made payable to Nationstar Mortgage LLC d/b/a Mr. Cooper. During pendency of
this default, please remit all payments to:

Shapiro & DeNardo, LLC
3600 Horizon Drive, Suite 150
King of Prussia, PA 19406

The default must be cured within 15 days from the date below or Movant shall file a
Certification of Default with the Court, and request the Court to enter an Order granting Movant
relief from the Automatic Stay.


                                                    Respectfully submitted,



Dated: April 6, 2020                                BY: /s/ Michael J. Clark
                                                    Michael J. Clark, Esquire
                                                    Shapiro & DeNardo, LLC
                                                    3600 Horizon Drive, Suite 150
                                                    King of Prussia, PA 19406
                                                    (610) 278-6800/ fax (847) 954-4809
S&D File #:15-049385                                PA BAR ID #79992
                                                    klittle@logs.com
                                                    pabk@logs.com
